Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 1 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 2 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 3 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 4 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 5 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 6 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 7 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 8 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 9 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 10 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 11 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 12 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 13 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 14 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 15 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 16 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 17 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 18 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 19 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 20 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 21 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 22 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 23 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 24 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 25 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 26 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 27 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 28 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 29 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 30 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 31 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 32 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 33 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 34 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 35 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 36 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 37 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 38 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 39 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 40 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 41 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 42 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 43 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 44 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 45 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 46 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 47 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 48 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 49 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 50 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 51 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 52 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 53 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 54 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 55 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 56 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 57 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 58 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 59 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 60 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 61 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 62 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 63 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 64 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 65 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 66 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 67 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 68 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 69 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 70 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 71 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 72 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 73 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 74 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 75 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 76 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 77 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 78 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 79 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 80 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 81 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 82 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 83 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 84 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 85 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 86 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 87 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 88 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 89 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 90 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 91 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 92 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 93 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 94 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 95 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 96 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 97 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 98 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
                Description: Main Document , Page 99 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
               Description: Main Document , Page 100 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
               Description: Main Document , Page 101 of 102
Case 1-20-10322-CLB, Doc 830, Filed 01/19/21, Entered 01/19/21 17:08:07,
               Description: Main Document , Page 102 of 102
